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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 20-cv-01936-STV

TIMOTHY JAMES COATES;
GENE CLAPS;
MARK MITCHELL; and
KEVIN CURRIER

       Plaintiffs,

v.

THE ADAMS COUNTY SHERIFF’S OFFICE, a governmental entity;
RICHARD A. REIGENBORN, in his official and individual capacity

      Defendants.
______________________________________________________________________________

                         DEFENDANTS’ RESPONSE TO
          PLAINTIFF’S PARTIAL MOTION FOR SUMMARY JUDGMENT
_____________________________________________________________________________

       Plaintiffs’ Motion for Partial Summary Judgment [ECF 51] does not request entry of

judgment on either of their two claims asserted under 42 U.S.C. § 1983. Instead, they invoke Fed.

R. Civ. P. 56(a) primarily to resolve the nature of their separation from employment as Adams

County Sheriff’s deputies, which they contend was an involuntary discharge−whether actual or

constructive. Defendants maintain, however, the Plaintiffs resigned. This, at least, is a contested

factual issue. 1 Further, with respect to the Plaintiffs’ Fourteenth Amendment claim, their

constructive discharge theory is legally irrelevant. Defendants acknowledge that Sheriff Richard

A. Reigenborn, in his individual capacity, was acting under color of law when he sent notices


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 Defendants have filed a separate motion for summary judgment on all of Plaintiffs’ claims raising
various legal arguments. [ECF 53.] That motion does not require the resolution of this disputed
factual issue.


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pursuant to the Deputies Statute, Colo. Rev. Stat. § 30-10-506, which can be addressed under Fed.

R. Civ. P. 56(g). But neither the Sheriff in his official capacity nor the Sheriff’s Department are

proper defendants in this action. As such, Defendants respectfully request the Court deny the

Plaintiffs’ partial motion for summary judgment under Fed. R. Civ. P. 56(a).

                                  FACTUAL BACKGROUND
       As the Defendants’ response to the Plaintiff’s Separate Statement of Facts hopefully makes

clear, the parties largely agree as to the chronology of the events in this case. Where they largely

disagree is in the characterization and significance of those facts, as well as the inferences drawn

therefrom. In addition, Plaintiff’s Separate Statement of Facts omits certain contextual facts

regarding the Sheriff’s issuance of Section 506 notices to the Plaintiffs. For present purposes, two

disconnects are worth highlighting.

       First, despite the Plaintiffs’ characterization, each of the Plaintiffs chose to resign at their

respective in-person meetings with the Sheriff. Before those meetings, Sheriff Reigenborn issued

each plaintiff a notice of intent to revoke their appointment under Section 506. (Resp. to UDF Nos.

22 & 23, Exs. 10-13.) But a Section 506 notice is not a final action. The statute contemplates an

opportunity to be heard at which a final decision will be made. Each of the four plaintiffs received

such a hearing. (Resp. to UDF Nos. 36, 38, 39 & 44.) The Sheriff testified it was at least possible

that each of them might have used to hearing as an opportunity to persuade the Sheriff to let them

keep their jobs although in a different role. (Doc. 53, Ex. F, S. Reigenborn Tr. at 179:2-181:7;

183:14-184:23.) The Sheriff’s statement of his own intent is uncontroverted by any admissible

evidence. But, shortly into each meeting, each Plaintiff chose to resign as the transcripts reveal.

(Resp. to UDF Nos. 40, 47, 56, 6 & Doc. 53, Exs. 18-23.) As part of their decision to resign, each



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Plaintiff retained their Law Enforcement Officers Safety Act status and their employment

paperwork reflects retirement, not termination. (Resp. to UDF No. 64.) Plaintiffs, moreover,

consulted with an attorney prior to the meeting. (Resp. at UDF Nos. 58 & 61.) At the meeting with

the Sheriff, Plaintiffs were offered severance, but they eventually declined it. (Resp. to UDF No.

69 & 74.) Although Plaintiffs had to submit their notices of resignation by the following day, they

all went on paid leave until January 31st. (Resp. to UDF No. 67.)

       Second, the context surrounding Sheriff Richard A. Reigenborn’s transmission of notices

pursuant to the Deputies Statute, Colo. Rev. Stat. § 30-10-506, rebuts the inferences Plaintiffs draw

therefrom regarding the inevitability of their termination and the political motivation therefore. It

is undisputed that in addition to plaintiffs’ notices, at least 5 other notices were sent at the same

time by Sheriff Reigenborn to other deputies. (Resp. to UDF No. 14, Doc. 53, Ex. F, S. Reigenborn

Tr. at 179:6-8, 180:4-12; Doc. 53, Ex. M at Rog. Resp. No. 7.) Not all deputies who received such

a notice were terminated or resigned. (Id.) Even former supporters of Sheriff McIntosh were

retained despite receiving the same Rule 506 notice. (Resp. to UDF No. 23, Doc. 53, Ex. F, S.

Reigenborn Tr. at 15:14-24.) And at least one vocal supporter of Sheriff McIntosh did not receive

a Rule 506 notice at all. (Resp. to UDF No. 14.)

                                          ARGUMENT
       Summary judgment under Fed. R. Civ. P. 56(a) is only appropriate if the moving party is

entitled to judgment as a matter of law. Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986);

Henderson v. Inter—Chem Coal Co., 41 F.3d 567, 569 (10th Cir. 1994); Sonrisa Holding, LLC v.

Circle K Stores, Inc., No. 17-cv-00029-STV, 2019 U.S. Dist. LEXIS 99867, *10 (D. Colo. June

12, 2019). If, however, a party files a motion for summary judgment, and the court does not grant



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all the relief, subdivision (g) applies. Under subdivision (g), the Court “may enter an order stating

any material fact—including an item of damages or other relief—that is not genuinely in dispute

and treating the fact as established in the case.”

        In evaluating the Plaintiffs’ attempt to establish a subsidiary element of their claims, the

Court must decide whether any genuine issues of material fact are in dispute and, if not, whether

the law entitles the moving party to relief. See Cone v. Longmont United Hosp. Ass’n, 14 F.3d 526,

527-28 (10th Cir. 1994). Where presented with cross-motions for summary judgment, the Court

“must view each motion separately, in the light most favorable to the non-moving party, and draw

all reasonable inferences in that party’s favor.” United States v. Supreme Court of New Mexico,

839 F.3d 888, 907 (10th Cir. 2016) (quotations omitted)

        “[A] judge’s function at summary judgment is not to weigh the evidence and determine the

truth of the matter but to determine whether there is a genuine issue for trial.” Tolan v. Cotton, 572

U.S. 650, 656 (2014) (quotation omitted). “Whether there is a genuine dispute as to a material fact

depends upon whether the evidence presents a sufficient disagreement to require submission to a

jury.” Sonrisa Holding, LLC, 2019 U.S. Dist. LEXIS 99867, at *10-11 (citations omitted). “A fact

is ‘material’ if it pertains to an element of a claim or defense; a factual dispute is ‘genuine’ if the

evidence is so contradictory that if the matter went to trial, a reasonable party could return a verdict

for either party.” Id. at *11. The Court must construe the facts in the record in the light most

favorable to the party opposing summary judgment. Abdulhaseeb v. Calbone, 600 F.3d 1301,

1312-14 (10th Cir. 2010). Characterizations and arguments of counsel are not evidence. See Patel

v. Hall, 849 F.3d 970, 978-79 (10th Cir. 2017). “Credibility determinations [and] the weighing of

evidence . . . are jury functions, not those of a judge[.]” See Stinnett v. Safeway, Inc., 337 F.3d



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1213, 1216 (10th Cir. 2003). Only “[w]here the record taken as a whole could not lead a rational

trier of fact to find for the non-moving party,” is there is no genuine issue for trial. Matsushita

Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

I.     ALL FOUR PLAINTIFFS RESIGNED RATHER THAN FACE POTENTIAL
       TERMINATION.
       The evidence is undisputed that all four plaintiffs chose to resign during their in-person

meetings rather than face potential termination. Three of the plaintiffs followed up with written

notices of termination. Their employer treated it as a resignation, offered them severance (which

they declined) and allowed them to maintain their Law Enforcement Officers Safety Act status—

all befitting employees who retired. Plaintiffs may argue they chose resignation because it was

preferable to what they perceived to be inevitable termination. That each Plaintiff deemed

termination to be inevitable, however, does not mean it was. But even assuming termination was

inevitable (the evidence on this point is disputed), constructive discharge is not actual discharge.

Plaintiffs’ assertion that “any reasonable person in Plaintiffs’ position after the January 15, 2019

termination meetings would believe their employment had ended” (PMSJ at 8 (emphasis added))

is true only because the Plaintiffs resigned at the meeting. Other similarly-situated deputies who

received identical notices and had their in-person meetings with Sheriff Reigenborn did not resign

and did not end up being terminated.

       Plaintiffs chose to resign. Plaintiffs received an offer for additional financial benefit for

resigning. Plaintiffs specifically negotiated the preservation of their LEOSA status, which

incongruously they now claim was “not material.” (PMSJ at 9.) It was evidently material enough

for each of them to request it. And in any event, materiality is ordinarily a jury question. See, e.g.,

SEC v. C. Jones & Co., 312 F. Supp. 2d 1375, 1379 (D. Colo. 2004). The Tenth Circuit, moreover,


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has viewed the offer of a payment as part of resignation as a factor in establishing the voluntariness

of a resignation. See, e.g., Lenz v. Dewey, 64 F.3d 547, 552 (10th 1995) (“Mr. Lenz was given a

choice of resignation with stock payment or without, there is no evidence that he did not

comprehend his choice, the board and Mr. Lenz negotiated the terms of his Severance Agreement

for a month-and-a-half, and he chose to resign on June 21, 1991. We therefore conclude that Mr.

Lenz resigned voluntarily.”). None of the cases cited by plaintiffs involve an employee receiving

additional benefits and the offer of further financial benefits in consequence of choosing to resign.

Accord, e.g., Hinthorn v. Roland’s of Bloomington, Inc., 519 N.E.2d 909, 912 (Ill. 1988) (finding

that a resignation in lieu of termination “[a]t most . . . offer[ed] plaintiff a way to save face” and

“keep her resume clear of a discharge” but did not amount to an “actual opportunity to continue

her employment” because “she would have been fired in any event.”) (emphasis added); see also

Quinn v. City of Bel Aire, No. 05-1373-JTM, 2007 U.S. Dist. LEXIS 13630 *26-27 (D. Kan. Feb.

26, 2007) (distinguishing Hinthorn where the plaintiff “was given the opportunity to discuss the

proposed resignation and actively negotiated with the city, obtaining benefits which the city did

not originally plan to grant”).

       Nor do plaintiffs provide any support that “constructive” discharge is subsumed within

“actual” termination at a linguistic, logical, or jurisprudential level. Romero v. Helmerich & Payne

Int’l Drilling Co., No. 15-CV-00720-NYW, 2017 WL 5900361, at *11 (D. Colo. Nov. 30, 2017),

is not to the contrary. (See Mot. at 9, n.2.) There the court was evaluating a jury verdict for

irreconcilable inconsistency under Fed. R. Civ. P. 59(a)(1)(A). Under that deferential standard,

“the court has an obligation to reconcile inconsistent verdicts,” if at all possible. Id. at 29, citing

Jarvis v. Commercial Union Assur. Co., 823 F.2d 392 (10th Cir. 1987); cf. id. at 395 (“when only



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cacophony reigns, the verdicts must be set aside”). At issue were two special interrogatories–

Questions 3 and 4−asking first: “Did defendant actually discharge the plaintiff[,]” and then “Did

defendant constructively discharge the plaintiff[.]” Romero, 2017 WL 5900361 at *27. The

questions were not phrased disjunctively or exclusively. Given the phrasing, the district court

concluded that a positive answer to both questions could be reconciled under the Rule 59 standard

at a higher level of generality: that the plaintiff “did not voluntarily leave his [] position.” Id. at

*30-31. In the process, however, the court acknowledged that “the legal theory of constructive

discharge requires, among other things, that the employee opted to resign.” Id. at *29. “The court

likewise acknowledge[d] that, when viewed within the context of the legal theory of constructive

discharge, the jury’s response in the affirmative as to Question 3 directly conflicts with its response

in the affirmative as to Question 4.” Id. “The court also acknowledge[d] that the jury’s finding that

Plaintiff was constructively discharged is in direct conflict with [the Plaintiff]’s consistent position

that he did not quit or resign.” Id. At summary judgment, a plaintiff must advance a legally

cognizable claim. The Rule 59 standard does not apply here to save plaintiffs’ otherwise non-

cognizable claims.

II.    THE EVIDENCE IS NOT UNDISPUTED AS TO WHETHER PLAINTIFFS WERE
       CONSTRUCTIVELY DISCHARGED.
       Defendants acknowledge constructive discharge is a potentially available theory under for

a First Amendment claim. See, e.g., Rutan v. Republican Party of Illinois, 497 U.S. 62, 75-76

(1990). The evidence in this case, however, is not undisputed as to whether plaintiffs were

constructively discharged.

       “A constructive discharge occurs only when an employer, through unlawful acts, makes

working conditions so intolerable that a reasonable person in the employee’s position would feel


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forced to resign.” Exum v. U.S. Olympic Comm., 389 F.3d 1130, 1135 (10th Cir. 2004) (quotation

omitted). The court “evaluate[s] the voluntariness of an employee’s resignation under an objective,

totality of the circumstances standard.” Id. “The conditions of employment must be objectively

intolerable; the ‘plaintiff’s subjective views of the situation are irrelevant.’” Sanchez v. Denver

Pub. Sch., 164 F.3d 527, 534 (10th Cir. 1998) (quoting Yearous v. Niobrara Cty. Mem’l Hosp.,

128 F.3d 1351, 1356 (10th Cir. 1997)). A plaintiff’s burden in establishing constructive discharge

is “substantial.” Fischer v. Forestwood Co., Inc., 525 F.3d 972, 980 (10th Cir. 2008).

       A “[p]laintiff must show that, at the time of his resignation, his employer did not allow him

the opportunity to make a free choice regarding his employment relationship.” Exum, 389 F.3d at

1135. “In contrast, a plaintiff who voluntarily resigns cannot claim that he or she was

constructively discharged.” Id. Merely, “requiring an employee to choose between resignation and

termination is not necessarily a constructive discharge, unless the employee’s decision is, for some

reason, involuntary.” Id. “A choice between resignation or termination does not establish that the

resignation was involuntary, unless the employer lacked good cause to believe that there were

grounds for termination.” Parker v. Bd. of Regents of Tulsa Junior Coll., 981 F.2d 1159, 1162

(10th Cir. 1992); see also Lighton v. Univ. of Utah, 209 F.3d 1213, 1222 (10th Cir. 2000).

       In this case, it is undisputed, Sheriff Reigenborn issued each plaintiff a notice of intent to

potentially revoke their appointment under Section 506. A Section 506 notice, however, is not a

final action. The statute contemplates an opportunity to be heard at which time a final decision will

be made. All four plaintiffs received such a hearing at which time they chose to resign. It is also

undisputed that in addition to plaintiffs’ notices, an additional 7 notices were sent at the same time




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by Sheriff Reigenborn to other deputies. Not all deputies who received such a notice were

terminated or resigned.

       Sheriff Reigenborn testified that at the time he sent the Rule 506 letters it was possible that

each Plaintiff might have remained employed by the Adams County Sheriff’s department, albeit

perhaps in a different role. The evidence of the Sheriff’s intent is not only uncontroverted by any

admissible evidence−the plaintiffs’ subjective and speculative views being both irrelevant and

inadmissible−but is corroborated by the undisputed fact that not every recipient of Rule 506 letter

lost his job. Even if the Sheriff’s intent had been adequately contested by evidence, it would raise

a credibility and weight issue that should go to the jury. By choosing to resign before Sheriff

Reigenborn could render his final decision or fully conduct the in-person discussions, plaintiffs

cannot now establish as a matter of undisputed fact what Sheriff Reigenborn would have done

under different circumstances. At most, a jury must evaluate the credibility of the Sheriff’s

explanation for his decisions. See also McKnight v. Kimberly Clark Corp., 149 F.3d 1125, 1129

(10th Cir. 1998) (“Summary judgment is not ordinarily appropriate for settling issues of intent or

motivation . . . . However, in this case, [the plaintiff] has not shown that at the time of his

termination there was any dispute or a genuine issue concerning the sincerity of defendants’

proffered reason for his termination.”). In any event, plaintiffs are not entitled to summary

judgment on an issue bound up with the sincerity of the Sheriff’s intent or motivation.

III.   CONSTRUCTIVE DISCHARGE IS NOT AN AVAILABLE THEORY FOR
       PLAINTIFFS’ SUBSTANTIVE DUE PROCESS CLAIM.
       As argued in Section III.A of Defendants’ motion for summary judgment, constructive

discharge of at-will employees is not a theory available for a purely procedural claim. See, e.g.,

Yearous v. Niobrara County Mem. Hosp. by & Through Bd. of Trustees, 128 F.3d 1351, 1355-58


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 (10th Cir. 1997) (plaintiffs could not maintain a constructive discharge claim under the Fourteenth

 Amendment where they voluntarily resigned and declined a reinstatement hearing); Robinson v.

 Robinson, No. 05-cv-01433-REB-PAC, 2006 WL 726296, at *2 (D. Colo. Mar. 20, 2006)

 (granting summary judgment in favor of defendant because deputy sheriff could not show a

 procedural due process violation where he resigned from his position), rev’d and remanded on

 other grounds, 226 F. App’x 805 (10th Cir. 2007). Stated positively, a constructive discharge claim

 in a procedural due process case is only available where there is a compounding violation. See

 Fowler v. Carrollton Pub. Library, 799 F.2d 976, 981 (5th Cir. 1986) (“Constructive discharge in

 a procedural due process case constitutes a § 1983 claim only if it amounts to forced discharge to

 avoid affording pretermination hearing procedures.”); accord Bailey v. Kirk, 777 F.2d 567, 579-

 80 (10th Cir. 1985) (recognizing constructive discharge claim for harassment and false accusations

 where plaintiff exercised his right to a hearing regarding his demotion).

        No such compounding violation is at issue in this case. Plaintiffs were afforded their

 hearing under Section 506. See McLallen v. Taylor, No. 10-cv-01187-RPM, 2012 U.S. Dist.

 LEXIS 18588, at *9 (D. Colo. Feb. 15, 2012) (providing a deputy with a “face to face meeting to

 explain his conduct” was sufficient to meet both the notice and opportunity to be heard

 requirements of Section 506). They were not subjected to harassment for doing so. As such,

 constructive discharge is not a theory available to these plaintiffs in light of their resignations.

 IV.    ONLY SHERIFF REIGENBORN IN HIS INDIVIDUAL CAPACITY ACTED
        UNDER COLOR OF STATE LAW WHEN EXERCISING HIS STATUTORY
        POWERS UNDER COLO. REV. STAT. § 30-10-506.
        As set forth in Section I of Defendants’ motion for summary judgment, only Sheriff

 Reigenborn in his individual capacity is a proper defendant in this action. In that capacity only,



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 Defendants concede Sheriff Reigenborn acted under color of state law when exercising his

 statutory powers under Colo. Rev. Stat. § 30-10-506. Lontine v. Van Cleave, 483 F.2d 966, 968

 (10th Cir. 1973) (suspension of Adams County deputy under predecessor to Section 506 was done

 under color of state law).

         That is not the case, however, for the Sheriff in his official capacity. Bristol v. Bd. of County

 Comm’rs of Clear Creek, 312 F.3d 1213, 1221 (10th Cir. 2002) (suspending deputy does not set

 official policy), superseded in part by 2006 amendment to Colo. Rev. Stat. § 30-10-506; see also

 Kentucky v. Graham, 473 U.S. 159, 165 (1985) (“Personal-capacity suits seek to impose personal

 liability upon a government official for actions he takes under color of state law.”). Nor can it be

 the case for the Sheriff’s “office,” which is not a juridical entity subject to suit. See, e.g., Martinez

 v. Winner, 771 F.2d 424, 444 (10th Cir. 1985); Hinton v. Dennis, 362 F. App’x 904, 907 (10th Cir.

 2010) (unpublished); Gash v. City & County of Denver, No. 12-cv-00929-REB-MJW, 2012 U.S.

 Dist. LEXIS 119572, *2-3 (D. Colo. Aug. 23, 2012); Stump v. Gates, 777 F. Supp. 808, 815 (D.

 Colo. 1991); Boren v. City of Colo. Springs, 624 F. Supp. 474, 479 (D. Colo. 1985). And the Board

 of County Commissioners cannot limit or exercise any authority under color of state law with

 respect to the Sheriff’s exclusive statutory authority. Goodwin v. Debekker, 716 F. Supp. 1363,

 1365 (D. Colo. 1989) (“the Board of County Commissioners of a non-home rule county cannot,

 by language in a personnel manual, supersede the sheriff’s statutory authority to hire and fire ‘at

 his pleasure.’”). Only Sheriff Reigenborn in his individual capacity, therefore, acted under color

 of state law when exercising his statutory powers under Colo. Rev. Stat. § 30-10-506.

                                            CONCLUSION

         Plaintiffs have not sustained a legally cognizable argument with undisputed facts as to the



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 nature of the Plaintiffs’ separation from employment, whether actual or constructive discharge.

 Constructive discharge is not, moreover, available for the Plaintiffs’ Due Process claims. The

 Sheriff in his individual capacity concedes he was acting under color of state law when exercising

 his statutory powers under Colo. Rev. Stat. § 30-10-506. And only Sheriff Reigenborn in his

 individual capacity is a proper defendant in this action. The Court should deny the Plaintiffs’

 motion for partial summary judgment.

    DATED: December 20, 2021.                 Respectfully submitted,


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                                              and Richard A. Reigenborn




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                                    CERTIFICATE OF SERVICE

         I hereby certify that on December 20, 2021, I caused the foregoing to be electronically

 filed with the Clerk of the Court using the CM/ECF system which will send notification of such

 filing to all counsel of record.



                                              s/Michael A. Sink
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